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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,
individually and on behalf of all
others similarly situated,

C.A. No. 18-10225-MLW

Vv.

)
)
)
)
)
Petitioners-Plaintiffs, )
)
)
)
KEVIN McALEENAN, ET AL., )
)

Respondents-Defendants. }

ORDER

 

WOLF, D.Jd. July 29, 2019

On July 10, 2019, the parties filed a proposed order
summarizing the orders the court made orally at the hearing on
June 27, 2019. See Docket No. 301. In the proposed order, the
parties indicated that they were continuing to confer regarding
revisions to the proposed Class Notice form and would "submit a
joint proposed Class Notice shortly." Id. at 3, n.1l.

It is hereby ORDERED that the parties shall, by July 31, 2019,
jointly if possible, but separately if necessary, file the proposed

Class Notice.

 

C oR {eu ao, ~~. HANGS)
UNITED SGTATES DISTRICT JUDGE,
